 Fill in this information to identify the case:


   Debtor 1 Denise M. Riccio fka Denise Jubo aka Denise Marie Riccio
   (Spouse, if filing)

   United States Bankruptcy Court for the MIDDLE District of Pennsylvania


   Case number 21-02046 MJC




Official Form 410S2
Amended Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                         12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



 Name of creditor: M&T Bank                                                                Court claim no. (if known): 1                         _


 Last 4 digits of any number you use to
 identify the debtor’s account: 3550
 Does this notice supplement a prior notice of postpetition fees,
 Expenses, and charges?
 No
 Yes.     Date of the last notice: 11/01/2021


 Part 1:     Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
 If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.
      Description                                                Dates incurred                                       Amount

  1. Late charges                                                                                                          (1)   $
  2. Non-sufficient funds (NSF) fees                                                                                       (2)   $
  3. Attorney fees                                                                                                         (3)   $
  4. Filing fees and court costs                                                                                           (4)   $
  5. Bankruptcy/Proof of claim fees                                                                                        (5)   $
  6. Appraisal/Broker’s price opinion fees                                                                                 (6)   $
  7. Property inspection fees                                                                                              (7)   $
  8. Tax advances (non-escrow)                                                                                             (8)   $
  9. Insurance advances (non-escrow)                                                                                       (9)   $
 10. Property preservation expenses. Specify:                                                                          (10)      $
 11. Other. Specify: Per Agreement, Plan Review,                            10/12/2021, 10/13/2021, 10/20/2021         (11)      $ 900.00
                         objection, and proof of claim fees/costs

 12. Other. Specify:                                                                                                   (12)      $
 13. Other. Specify:                                                                                                   (13)      $
 14. Other. Specify:                                                                                                   (14)      $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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              Denise M. Riccio
Debtor 1                                                                                  _           Case number (if known) 21-02046 MJC
                 First Name           Middle Name           Last Name




 Part 2:       Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
   I am the creditor.
  I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.


            /s/ Rebecca A. Solarz                                                                                     Date December 22, 2021
                Signature




            Print:             Rebecca A. Solarz                                                       _       Title    Attorney for Creditor_____
                               First Name                         Middle Name     Last Name




            Company            KML Law Group, P.C.__________________________


            Address            701                  Market Street, Suite 5000______________
                               Number                    Street
                               Philadelphia,                                      PA          19106
                               City                                               State          ZIP Code



           Contact phone      (215) 627–1322                            Email rsolarz@kmllawgroup.com




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